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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


CORNELIUS JOHNSON

                Plaintiff,
                                                  CASE NO.:
vs.

LAZER SPOT, INC., A
GEORGIA CORPORATION
            Defendant.
_________________________/

                COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, CORNELIUS JOHNSON, sues the Defendant, LAZER SPOT,

INC., (“Defendant”) a Georgia Corporation, and alleges:

      1.    Plaintiff   was    employed   of    Defendant    and   bring     this    action

for   unpaid    overtime      compensation,    liquidated   damages,   and     all   other

applicable relief pursuant to the Fair Labor Standards Act, as amended,

29 U.S.C. § 216(b) (“FLSA”).

                              GENERAL ALLEGATION

      2. Plaintiff JOHNSON worked for Defendant from approximately

February 2019 to March 2022.

      3. At all times, Plaintiff was merely paid by the hour by Defendant.
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      4.     Defendant,       LAZER         SPOT,      INC.,     is    a     “yard         management”

provider with over 400 sites in the United States and Canada. See

www.lazerspot.com.

      5.     Defendant’s        headquarters     and     principal      place        of     business    is

in Alpharetta, Georgia, which is in Fulton County, Georgia and within the jurisdiction

of this Court.

      6.     This    action     is    brought    under     the        FLSA      to        recover   from

Defendant        unpaid       overtime       compensation,        liquidated          damages,         and

reasonable attorneys’ fees and costs.

      7. This Court has jurisdiction over Plaintiff’s claim pursuant

to 28 U.S.C. §1331 and the FLSA.

      8. During Plaintiff’s employment with Defendant, Defendant earned more than

$500,000.00 per year in gross sales.

      9.     During       Plaintiff’s      employment          with     Defendant,            Defendant

employed two or more employees which handled goods, materials and

supplies     which        had        travelled   in      interstate        commerce,           including

computers, vehicles, office equipment, telephones and other items.

                                      FLSA VIOLATIONS

      10. At all times relevant to this action, Defendant has failed to
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comply with the FLSA by failing to pay Plaintiff complete overtime compensation.

       11. During Plaintiff’s employment with Defendant, Plaintiff

was paid his regular hourly rate for all overtime hours worked.

       12.   Defendant      classified   Plaintiff      as     exempt   pursuant     to   the

motor carrier exemption contained in the FLSA.

       13.     However,        during         his     employment        with       Defendant,

Plaintiff did not move vehicles or trucks on public roads, and as such,

would not be exempt under the motor carrier exemption.

       14.     Since       Plaintiff     is         actually     non-exempt         employee,

Defendant has violated the FLSA due to its above described pay

practices in failing to pay Plaintiff time and one-half of his hourly

rate for overtime hours worked.

       15. Upon information and belief, the records, to the extent any

exist and are accurate, concerning the number of hours worked and

amounts paid to Plaintiff is in the possession and custody of

Defendant.

               COUNT I – RECOVERY OF OVERTIME WAGES

       16. Plaintiff reincorporate and readopt all allegations contained

in paragraphs (1) through (16) above.
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       17. Plaintiff was entitled to be paid overtime compensation for

overtime hours worked.

       18. During his employment with Defendant, Plaintiff

worked overtime hours but was only paid his regular hourly rate

instead of time and one-half his hourly rate for those overtime hours

worked.

       19. Defendant did not have a good faith basis for their decision

to not pay Plaintiff complete and proper overtime compensation for

overtime hours worked.

       20. Because of Defendant’s intentional, willful, and unlawful

acts in refusing to pay Plaintiff proper compensation, Plaintiff has

suffered damages plus incurring reasonable attorneys’ fees and costs.

       21. Because of Defendant’s willful violation of the FLSA,

Plaintiff is entitled to liquidated damages.

       22. Plaintiff demands a trial by jury.

       WHEREFORE, Plaintiff, CORNELIUS JOHNSON, demand judgment

against Defendant for unpaid overtime wages, liquidated damages, reasonable

attorneys’ fees and costs incurred in this action, and any and all further relief that this

Court determines to be just and appropriate.
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Dated this 10th day of May, 2022.

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